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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

    In re:
                                                           Chapter 11
                                                   1
    LORDSTOWN MOTORS CORP., et al.,
                                                           Case No. 23-10831-MFW

             Debtors.                                      (Jointly Administered)

                                                           Objection Deadline:
                                                           February 20, 2024, at 4:00 p.m. (ET)

                                                           Hearing Date:
                                                           Only if objection(s) are filed

                            NOTICE OF MONTHLY FEE APPLICATION

       PLEASE TAKE NOTICE that, on January 30, 2024, Troutman Pepper Hamilton Sanders
LLP (“Applicant”), counsel to the Official Committee of Unsecured Creditors of Lordstown
Motors Corp. and its affiliated debtors, filed the Sixth Monthly Application of Troutman Pepper
Hamilton Sanders LLP for Compensation for Services Rendered and Reimbursement of
Expenses as Counsel for the Official Committee of Unsecured Creditors for the Period from
December 1, 2023 Through and Including December 31, 2023 (the “Application”) with the
United States Bankruptcy Court for the District of Delaware (the “Court”).

         PLEASE TAKE FURTHER NOTICE that in accordance with the Order Establishing
Procedures for Interim Compensation and Reimbursement of Expenses for Chapter 11
Professionals and Committee Members [Docket No. 181] (the “Compensation Procedures Order”)
entered by the Court on July 25, 2023, any objection or other response to the Application must be
(i) filed with the Clerk of the United States Bankruptcy Court for the District of Delaware, 824
North Market Street, 3rd Floor, Wilmington, Delaware 19801, on or before February 20, 2024,
at 4:00 p.m. (Eastern Time) (the “Objection Deadline”) and (ii) served so as to be actually
received no later than the Objection Deadline by (a) the Applicant and (b) the Notice Parties (as
defined and identified in the Compensation Procedures Order).

        PLEASE TAKE FURTHER NOTICE that if an objection or response to the Application
is filed and is not subsequently resolved, a hearing on the Application will be scheduled at the
convenience of the Court and held before the Honorable Mary F. Walrath, United States
Bankruptcy Judge, at the United States Bankruptcy Court for the District of Delaware, 824 North
Market Street, 5th Floor, Courtroom # 4, Wilmington, Delaware, 19801.




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      The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
      Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service
      address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.




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     PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO RESPOND TO THE
APPLICATION IN ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT
THE RELIEF REQUESTED IN THE APPLICATION WITHOUT FURTHER NOTICE
OR OPPORTUNITY FOR A HEARING.

Dated: January 30, 2024            Respectfully submitted,
Wilmington, Delaware
                                   TROUTMAN PEPPER HAMILTON SANDERS LLP

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                                   Counsel to the Official Committee of Unsecured
                                   Creditors



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